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                                                                                                            288
                                     United States District Court                                         November 19, 2024
                                                                                                          KAREN MITCHELL
                                      FOR THE NORTHERN DISTRICT OF TEXAS                                CLERK, U.S. DISTRICT
                                                DALLAS DIVISION
                                                                                                              COURT

UNITED STATES OF AMERICA                                     §
                                                             §
v.                                                           §                 CRIMINAL ACTION NO. 3:24-CR-0187-S
                                                             §
ANNA MARIE CASTILLO (2)                                      §

                    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

        ANNA MARIE CASTILLO, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997),
has appeared before me pursuant to FED. R. CRIM. P. 11, and has entered a plea of guilty to Count 7 of the Indictment.
After cautioning and examining ANNA MARIE CASTILLO under oath concerning each of the subjects mentioned in
Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense charged is supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of
guilty be accepted, and that ANNA MARIE CASTILLO be adjudged guilty of Possession of a Firearm by a Convicted
Felon, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8) and have sentence imposed accordingly.

☐       The Defendant is currently in custody and should be ordered to remain in custody.

☐       The Defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
        convincing evidence that the Defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        ☐       The Government does not oppose release.
        ☐       The Defendant has been compliant with the current conditions of release.
        ☐       I find by clear and convincing evidence that the Defendant is not likely to flee or pose a danger to any other
                person or the community if released and should therefore be released under 18 U.S.C. § 3142(b) or (c).

        ☐       The Government opposes release.
        ☐       The Defendant has not been compliant with the conditions of release.
        ☐       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

☐       The Defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless: (1)(a) the Court finds there is
        a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145(c) why the Defendant should not be detained; and (2) the Court finds by clear and convincing evidence
        that the Defendant is not likely to flee or pose a danger to any other person or the community if released.

        SIGNED November 19, 2024.
                                                       _____________________________________
                                                       UNITED STATES MAGISTRATE JUDGE
                                                       REBECCA RUTHERFORD

                                                            NOTICE
         Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its
service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. §636(b)(1)(B).
